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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

WHEELAND FAMILY LTD.                                   No. 4:18-CV-01976
PARTNERSHIP LP, et al.,
                                                       (Judge Brann)
      Plaintiffs and Counterclaim
      Defendants,

      v.

ROCKDALE MARCELLUS LLC,

      Defendant and Counterclaim
      Plaintiff.

                                       ORDER

                                     JULY 3, 2019

      In accordance with the accompanying Memorandum Opinion, IT IS HEREBY

ORDERED that Defendant’s Motion for Partial Judgment on the Pleadings, ECF No.

24, is GRANTED. Upon resolution of the remaining claims in this case, the Clerk of

Court is directed to enter judgment in favor of Defendant on counts VII-XXI of

Plaintiffs’ complaint, ECF No. 1-1, and Count I of Rockdale’s counterclaim, ECF No.

12, to the extent Count I applies to Leases 3–7.

      IT IS FURTHER ORDERED that Rockdale’s motion for a hearing regarding

the instant motion for partial judgment on the pleadings, ECF No. 43, is DENIED AS

MOOT.

                                                   BY THE COURT:


                                               s/ Matthew W. Brann
                                               Matthew W. Brann
                                               United States District Judge
